                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE




 UNITED STATES OF AMERICA,                              )
                                                        )
 v.                                                     )      No. 3:06-CR-92
                                                        )      (Phillips)
 JOANNE WEST                                            )



                                         ORDER

              By order entered November 15, 2006, the court granted defendant an

 extension of time to file objections to the presentence investigation report and to file a

 sentencing memorandum. Defendant’s sentencing has now been continued to July 10,

 2007, by agreement of the parties. Accordingly, defendant’s objections and sentencing

 memorandum shall be due thirty (30) days prior to the sentencing date.



              IT IS SO ORDERED.



                                          ENTER:



                                                 s/ Thomas W. Phillips
                                               United States District Judge




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